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                                  UNITED STATES DISTRICT COURT
1
                               NORTHERN DISTRICT OF CALIFORNIA
2
                                       SAN FRANCISCO DIVISION
3
                                             )                Case No. 07-5944 SC
4                                            )
     In re: CATHODE RAY TUBE (CRT) ANTITRUST )                MDL No. 1917
5    LITIGATION                              )
                                             )                [PROPOSED] ORDER GRANTING
6    This Document Relates to:               )                DEFENDANTS’ JOINT MOTION FOR
                                             )                SUMMARY JUDGMENT AGAINST
7    DIRECT PURCHASER ACTIONS                )                PURPORTED DIRECT PURCHASER
                                             )                PLAINTIFFS WHO DID NOT
8                                            )                PURCHASE CRTS
                                             )
9                                            )
10

11                  The Defendants’ Joint Motion for Summary Judgment Against Purported Direct

12   Purchaser Plaintiffs Who Did Not Purchase CRTs (“Motion”), filed by Defendants Panasonic

13   Corporation of North America; Panasonic Corporation; MT Picture Display Co., Ltd., and made on
14   behalf of the additional moving defendants identified in the Motion (collectively “Defendants”)
15
     came on regularly for hearing before this Court.
16
            Having considered all papers filed in support of and in opposition to said Motion, and having
17
     entertained argument of counsel, and good cause appearing, IT IS HEREBY ORDERED that
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19   Defendants’ Motion is GRANTED in full, and the claims of the direct purchaser plaintiffs who did

20   not purchase CRTs are dismissed with prejudice.

21
     IT IS SO ORDERED
22

23   Dated:___________________                    _____________________________________________
                                                                 Hon. Samuel Conti
24                                                           United States District Judge
25

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     [PROPOSED] ORDER RE MOTION FOR SUMMARY JUDGMENT                                 CASE NO. 07-5944 SC
     AGAINST PURPORTED DIRECT PURCHASER PLAINTIFFS                                        MDL NO. 1917
     WHO DID NOT PURCHASE CRTS
